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' - ‘ TO ALLOW DISCLOSURE OF
SEAl_ED TlTLE ill MATERIALS lN DlSCOVERY
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ar Comes nowthe United States of Amen'ca, and hereby requests the Co'urt to authorize

the provision to defense counsel in United States v, Ward Cmtchfield and Charles Love, 05-
20204~B; United'States v. Chris Newton and Charies Love, 05-20205-M1 ; United States v_
John Ford, 05-20201-8; Uniled Staies v. Roscoe Dixon and Barry Myers, 05-20202-M1;
and United States v. Kathryn Bowers and Bany Myers, 05-20203-M1 of copies of the
followling:

1. Redacted portions ot Tit|e |il applications, orders and affidavits in Miscellaneous
No. 05-WT-001(W.D.TN.) and all orders, applications and affidavits submitted requesting
extension or modification of that order.

2. Co`pies of audio and visual interceptions which were obtained as a result of said
orders, to the extent that said interceptions are relevant as discovery material, or other
material appropriately furnished to defense counsel.

At the government’s request, seating orders were issued to preserve the integrity ot the

ongoing investigation The government is seeking the Court’s permission to provide in

" s document entered on the docket sheet in corn hance
jt att-le 55 and/or 32(b) FRCrP on 2 112 §§

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discovery documents that were submitted to the Court to obtain said order and the fruits of
investigation as appropriately disclosed to the defense attorneys in the above-captioned
cases.

The United States also requests that it be allowed to redact said applications, orders
and aftidavits, editing those matters that are not material to the current indictments as the
aftidavits, orders and apptications contain information concerning lines of investigation that
are not yet completed and individuals who have not been charged in a criminal case. lf this
information is disclosed to the general public, those lines of investigation may be
compromised. |n addition, the rights of individuals mentioned but not charged may be
prejudiced Forthese reasons, the government also requests that the disclosure be iimited
to providing the discovery to defense counsel and their clients, and that the documents made
available to the attorneys for the defendants be subject to a protective order limiting the
dissemination of this information.

Respectfu|ly submitted,

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UN!TED STATES ATTORNEY

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Case 2:05-cr-20205-.]DB Document 35 Filed 07/19/05 Page 3 of 4 Page|D 49

CERTIFICATE OF SERVICE

i, TI MOTHY R- DISCENZA, Assistant United States Attorney forthe Western District

of Tennessee, hereby certify that a copy of the foregoing Motion and the proposed order were

mailed, first class postage prepaid, to the foilowing:

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UNITED sTATE D"ISIC COURT - WESTERN DSTCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
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